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                            EXHIBIT 6
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 2 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 3 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 4 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 5 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 6 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 7 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 8 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 9 of 265
                                 ATTORNEYS EYES ONLY




                                   Veritext Legal Solutions
                                        866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 10 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 11 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 12 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 13 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 14 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 15 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 16 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 17 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 18 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 19 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 20 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 21 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 22 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 23 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 24 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 25 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 26 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 27 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 28 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 29 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 30 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 31 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 32 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 33 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 34 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 35 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 36 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 37 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 38 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 39 of
                               ATTORNEYS
                                     265 EYES ONLY
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 40 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 41 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 42 of
                               ATTORNEYS
                                     265 EYES ONLY




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                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 43 of
                               ATTORNEYS
                                     265 EYES ONLY




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                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 44 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 45 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 46 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 47 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 48 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 49 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 50 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 51 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 52 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 53 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 54 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 55 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 56 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 57 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 58 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 59 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 60 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 61 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 62 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 63 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 64 of
                               ATTORNEYS
                                     265 EYES ONLY




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                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 65 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 66 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 67 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 68 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 69 of
                               ATTORNEYS
                                     265 EYES ONLY




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                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 70 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 71 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 72 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 73 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 74 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 75 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 76 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 77 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 78 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 79 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 80 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 81 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 82 of
                               ATTORNEYS
                                     265 EYES ONLY




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                                      866 299-5127
Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 83 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 84 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 85 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 86 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 87 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 88 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 89 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 90 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 91 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 92 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 93 of
                               ATTORNEYS
                                     265 EYES ONLY




                                 Veritext Legal Solutions
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 94 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 95 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 96 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 97 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 98 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 99 of
                               ATTORNEYS
                                     265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 100 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 101 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 102 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 103 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 104 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 105 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 106 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 107 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 108 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 109 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 110 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 111 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 112 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 113 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 114 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 115 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 116 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 117 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 118 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 119 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 120 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 121 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 122 of
                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 123 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 124 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 125 of
                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 126 of
                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 202 of
                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 205 of
                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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Case 9:19-cv-81160-RS Document 457-6 Entered on FLSD Docket 05/11/2020 Page 237 of
                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                      265 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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                                ATTORNEYS
                                      265 EYES ONLY




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